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                                               IN THE DISTRICT COURT IN AND FOR
                                               THE SOUTHERN DISTRICT OF FLORIDA
                                               MIAMI DIVISION

                                               CASE NO.
MARIA SIDLOSCA,

       Plaintiff,

v.

HARRISON BYCK LAW OFFICES, P.C.

      Defendant.
_____________________________________/

                                      NATURE OF ACTION

       1.        This is an action brought under the Fair Debt Collection Practices Act

(“FDCPA”), 15 U.S.C. § 1692 et seq.; the Telephone Consumer Protection Act (“TCPA”), 47

U.S.C. § 227; and the Florida Consumer Collection Practices Act, Fla. Stat. (“FCCPA”), Fla.

Stat. §559.72.

                                  JURISDICTION AND VENUE

       2.        This Court has jurisdiction under 15 U.S.C. § 1692k(d), 47 U.S.C. § 227(b)(3), 28

U.S.C. § 1331, and 28 U.S.C. § 1367(a).

       3.        Venue is proper before this Court pursuant to 28 U.S.C. §1391(b), where the acts

and transactions giving rise to Plaintiff’s action occurred in this district, where Plaintiff resides in

this district, and where Defendant transacts business in this district.

                                              PARTIES

       4.        Plaintiff, MARIA SIDLOSCA (“Plaintiff”), is a natural person who at all relevant

times resided in the State of Florida, County of Miami-Dade, and City of Miami.

       5.        Plaintiff is a “consumer” as defined by 15 U.S.C. § 1692a(3).
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       6.      Defendant, HARRISON BYCK LAW OFFICES, P.C., (“Defendant”) or

(“HBLO”) is a professional corporation who at all relevant times was engaged, by use of the

mails and telephone, in the business of attempting to collect a “debt” from Plaintiff, as defined

by 15 U.S.C. §1692a(5) as well as the FCCPA.

       7.      Defendant is a “debt collector” as defined by 15 U.S.C. § 1692a(6) as well as the

FCCPA.

                                  FACTUAL ALLEGATIONS

       8.      Plaintiff is a natural person obligated, or allegedly obligated, to pay a debt owed

or due, or asserted to be owed or due a creditor other than Defendant.

       9.      Plaintiff's obligation, or alleged obligation, owed or due, or asserted to be owed or

due a creditor other than Defendant, arises from a transaction in which the money, property,

insurance, or services that are the subject of the transaction were incurred primarily for personal,

family, or household purposes.

       10.     Defendant uses instrumentalities of interstate commerce or the mails in a business

the principal purpose of which is the collection of any debts, and/or regularly collects or attempts

to collect, directly or indirectly, debts owed or due, or asserted to be owed or due another.

       11.     Within one (1) year preceding the date of this Complaint, Defendant made and/or

placed a telephone call to Plaintiff’s cellular telephone number, in effort to collect from Plaintiff

an obligation, or alleged obligation, owed or due, or asserted to be owed or due a creditor other

than Defendant.

       12.     Within one (1) year preceding the date of this Complaint, Defendant willfully and

knowingly utilized an automatic telephone dialing system to make and/or place a telephone call
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to Plaintiff’s cellular telephone number, in effort to collect from Plaintiff an obligation, or

alleged obligation, owed or due, or asserted to be owed or due a creditor other than Defendant.

        13.    On May 25, 2010, Plaintiff sent Defendant a cease and desist letter, disputing the

alleged debt and advising Defendant to discontinue all communications with Plaintiff. (See

cease and desist letter, attached hereto as Exhibit “A”).

        14.    In spite of Plaintiff’s letter, Defendant continued to contact Plaintiff.

        15.    During the months of June, July and August 2010, Defendant placed repeated and

continuous telephone calls to Plaintiff’s cellular telephone with the intent of harassing, annoying

and/or abusing Plaintiff.

        16.     In its communications with Plaintiff, and in connection with the collection of an

alleged debt, Defendant repeatedly reiterated to Plaintiff that it was a “law firm,” intending for

Plaintiff to believe Defendant possessed the ability to sue Plaintiff in the jurisdiction of her

residence; however, Defendant’s firm has no attorneys that are licensed to practice law in the

State Florida [http://www.hbycklaw.com/background.php], thus misrepresenting the level of

meaningful attorney involvement in the collections process.

        17.    Defendant placed multiple non-emergency calls to Plaintiff’s cellular telephone,

without the prior express consent of Plaintiff, using an automatic telephone dialing system.

        18.    Defendant’s actions constitute conduct highly offensive to a reasonable person,

and as a result of Defendant’s behavior Plaintiff suffered and continues to suffer injury to

Plaintiff’s feelings, personal humiliation, embarrassment, mental aguish and/or emotional

distress.
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                                             COUNT I

       19.      Plaintiff repeats and re-alleges each and every allegation contained in paragraphs

1 through 18.

       20.      Defendant violated 15 U.S.C. § 1692d(5) by causing Plaintiff’s telephone to ring

repeatedly or continuously with intent to harass, annoy or abuse Plaintiff.

       WHEREFORE, Plaintiff prays for relief and judgment, as follows:

             a) Adjudging that Defendant violated 15 U.S.C. § 1692d(5);

             b) Awarding Plaintiff statutory damages, pursuant to 15 U.S.C. §1692k, in the

                amount of $1,000.00;

             c) Awarding Plaintiff actual damages, pursuant to 15 U.S.C. §1692k;

             d) Awarding Plaintiff reasonable attorneys’ fees and costs incurred in this action;

             e) Awarding Plaintiff any pre-judgment and post-judgment interest as may be

                allowed under the law;

             f) Awarding such other and further relief as the Court may deem just and proper.

                                            COUNT II

       21.      Plaintiff repeats and re-alleges each and every allegation contained in paragraphs

1 through 18.

       22.      Defendant violated 15 U.S.C. § 1692e(3) by falsely representing the level of

attorney involvement in the collection process.

       WHEREFORE, Plaintiff prays for relief and judgment, as follows:

             a) Adjudging that Defendant violated 15 U.S.C. § 1692e(3);

             b) Awarding Plaintiff statutory damages, pursuant to 15 U.S.C. §1692k, in the

                amount of $1,000.00;
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             c) Awarding Plaintiff actual damages, pursuant to 15 U.S.C. §1692k;

             d) Awarding Plaintiff reasonable attorneys’ fees and costs incurred in this action;

             e) Awarding Plaintiff any pre-judgment and post-judgment interest as may be

                allowed under the law;

             f) Awarding such other and further relief as the Court may deem just and proper.

                                            COUNT III

       23.      Plaintiff repeats and re-alleges each and every allegation contained in paragraphs

1 through 18.

       24.      Defendant violated 15 U.S.C. § 1692e(10) by using false representations and

deceptive practices in connection with collection of an alleged debt from Plaintiff.

       WHEREFORE, Plaintiff prays for relief and judgment, as follows:

             a) Adjudging that Defendant violated 15 U.S.C. § 1692e(10);

             b) Awarding Plaintiff statutory damages, pursuant to 15 U.S.C. §1692k, in the

                amount of $1,000.00;

             c) Awarding Plaintiff actual damages, pursuant to 15 U.S.C. §1692k;

             d) Awarding Plaintiff reasonable attorneys’ fees and costs incurred in this action;

             e) Awarding Plaintiff any pre-judgment and post-judgment interest as may be

                allowed under the law;

             f) Awarding such other and further relief as the Court may deem just and proper.

                                            COUNT IV

       25.      Plaintiff repeats and re-alleges each and every allegation contained in paragraphs

1 through 18.
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       26.      Defendant violated 15 U.S.C. § 1692c(c) by communicating with Plaintiff after

having received a letter from Plaintiff with a request to cease and desist all collection contacts or

a statement that Plaintiff refuses to pay the debt.

       WHEREFORE, Plaintiff prays for relief and judgment, as follows:

             a) Adjudging that Defendant violated 15 U.S.C. § 1692c(c);

             b) Awarding Plaintiff statutory damages, pursuant to 15 U.S.C. §1692k, in the

                amount of $1,000.00;

             c) Awarding Plaintiff actual damages, pursuant to 15 U.S.C. §1692k;

             d) Awarding Plaintiff reasonable attorneys’ fees and costs incurred in this action;

             e) Awarding Plaintiff any pre-judgment and post-judgment interest as may be

                allowed under the law;

             f) Awarding such other and further relief as the Court may deem just and proper.

                                             COUNT V

       27.      Plaintiff repeats and re-alleges each and every allegation contained in paragraphs

1 through 18.

       28.      Defendant violated 15 U.S.C. § 1692g(b) by continuing to contact Plaintiff

without having first having provided validation of the debt after having received a written

communication from Plaintiff disputing the debt.

       WHEREFORE, Plaintiff prays for relief and judgment, as follows:

             a) Adjudging that Defendant violated 15 U.S.C. § 1692g(b);

             b) Awarding Plaintiff statutory damages, pursuant to 15 U.S.C. §1692k, in the

                amount of $1,000.00;

             c) Awarding Plaintiff actual damages, pursuant to 15 U.S.C. §1692k;
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             d) Awarding Plaintiff reasonable attorneys’ fees and costs incurred in this action;

             e) Awarding Plaintiff any pre-judgment and post-judgment interest as may be

                allowed under the law;

             f) Awarding such other and further relief as the Court may deem just and proper.

                                            COUNT VI

       29.      Plaintiff repeats and re-alleges each and every allegation contained above.

       30.      Defendant violated 47 U.S.C. § 227(b)(1)(A)(iii) by willfully and knowingly

utilizing an automatic telephone dialing system to make and/or place a telephone call to

Plaintiff’s cellular telephone number.

       WHEREFORE, Plaintiff prays for relief and judgment, as follows:

             a) Adjudging that Defendant violated 47 U.S.C. § 227(b)(1)(A)(iii);

             b) Awarding Plaintiff statutory damages, pursuant to 47 U.S.C. § 227(b)(3)(B), in

                the amount of $500.00 per violation;

             c) Awarding Plaintiff statutory damages, pursuant to 47 U.S.C. § 227(b)(3)(C), in

                the amount of $1,500.00 per violation;

             d) Awarding Plaintiff actual damages, pursuant to 47 U.S.C. § 227(b)(3)(B);

             e) Awarding Plaintiff reasonable attorneys’ fees and costs incurred in this action;

             f) Awarding Plaintiff any pre-judgment and post-judgment interest as may be

                allowed under the law.

                                  COUNT VII
                VIOLATIONS OF THE SECTION 559.72(7) OF THE FCCPA
                                AGAINST HBLO

       31.      Plaintiff re-alleges and incorporates by reference as though fully set forth herein,

paragraphs 1-18 of this complaint.
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        32.    Defendant violated §559.72(7) of the Florida Consumer Collection Practices Act

by willfully engaged in conduct which could reasonably be expected to abuse or harass the

Plaintiff.

        33.    As a result of Defendant’s violations as aforesaid, Plaintiff suffered and continues

to suffer personal humiliation, embarrassment, mental anguish and emotional distress.

               WHEREFORE, Plaintiff, MARIA SIDLOSCA, by and through her attorneys,

respectfully prays for judgment as follows:

               a.     All actual compensatory damages suffered;

               b.     Emotional and/or mental anguish damages;

               c.     Statutory damages of $1,000.00;

               d.     Plaintiff’s attorneys’ fees and costs;

               e.     Any other relief deemed appropriate by this Honorable Court.



                                        TRIAL BY JURY

        34.    Plaintiff is entitled to and hereby demands a trial by jury.
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      Respectfully submitted this 18th day of October, 2010.


                                               Respectfully submitted,
                                               MARIA SIDLOSCA


                                               By: s/ Alex D. Weisberg
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